Case 8:17-cV-OO496-SCB-AAS Document 1 Filed 02/28/17 Page 1 of 7 Page|D 1

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE I)ISTRICT OF FLORIDA
TAMPA DIVISION

VICTORIA WILLIAMS-MIRTH,

 

 

PLAINTIFF
V.
Case No.
CAPITAL ONE BANK (USA), N.A,,
DEFENDANT.
/
N()TICE OF REMOVAL

 

Pursuant to 28 U.S.C. §§ 133], 1367, 1441 and 1446, Defcndant Capital One
Bank (USA), N.A. (Capital One), gives notice of the removal of this action from the
Circuit Court for Hillsborough County, Florida, to the United States District Court for the
Middle District of Florida, Tampa Division, stating as follows:

I. INTRODUCTION

l_. On December 29, 2016, Plaintiff Victoria Williams»l,\/iirth commenced this
action by filing a Complaint against Midland Credit Management, Inc. in the Circuit
Court for Hilisborough County, Florida, Case Number 16-CA-011752. True and correct
copies of ali process, pleadings, orders, and other papers or exhibits of every kind,
including depositions on file in the state court are attached hereto as Exhibit A.

2. On January 26, 2017, Plaintiff filed a Notice of Voluntary Dismissal,

dismissing her claims against Midland Credit Management Inc. (See Exhibit A). The
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Case 8:17-cV-OO496-SCB-AAS Document 1 Filed 02/28/17 Page 2 of 7 Page|D 2

same day, Plaintiff also filed an Amended Complaint against Capital Onc. (See id.). True
and correct copies of all process, pleadings and orders served on Capital One is attached
hereto as Exhibit B.

3. In the Amended Complaint, Plaintiff alleges Capital One placed telephone
calls to Plaintiff in attempt to collect a debt, (Amended Complaint, W 8-13). Specitically,
the Amended Complaint alleges Capital One made calls to Plaintift‘s cellular telephone
using an automatic telephone dialing system after Plaintiff told Capital One she could not
pay the alleged debt and asked Capital One to stop calling her cell phone. (Amended
Cornplaint, 1[1[ 8-13; 20; 22; 30). As a result of this purported conduct, Plaintiff brings
claims against Capital One for violations of the Telephone Consurner Protection Act
(TCPA), 47 U.S.C. §227 et seq., and the Florida Consurner Collection Practices Act
(FCCPA), § 559.55, et seq. (See generally Amended Complaint, Counts l - ll).1

4. Capital One Was served With a copy of the Amended Complaint on
February 8, 2017. As such, this Notice ot“Removal is timely under 28 U.S.C. § 1446.

5. This Court has federal question jurisdiction over this matter pursuant to 28
U.S.C. §§ 1331, 1`367; 1441 and 1446 because the lawsuit places at issue claims arising

under a law of the United States.

 

1 Nothing in this Notice of Removal should be in any Way construed as an admission by Capital
One that Plaintit`i‘s claims have any merit Whatsoever. Capital One denies that Plaintiff is entitled
to any judgment, damages, relief, and/or award and demands strict proof thereof.

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Case 8:17-cV-OO496-SCB-AAS Document 1 Filed 02/28/17 Page 3 of 7 Page|D 3

II. FEDERAL JURISDICTION
A. Federal Ouestion Jurisdiction Exists Over This Action.

6. This action may be removed pursuant to 28 U.S.C. § 1441(a) because the
Court has original jurisdiction under 28 U.S.C. § l331.

7. Specifically, federal district courts.have lforiginal jurisdiction of all civil
actions arising under the Constitution, laws, or treatises of the United States." 28 U.S.C. §
1331. Removal based on "federal-question jurisdiction is governed by the 'well-pleaded
complaint rule,' Which provides that federal jurisdiction exists [] When a federal question
is presented on the face of the plaintiffs properly pleaded complaint." Caterpz'llar Inc. v.
Wi!liams, 482 U.S. 386, 392, 107 S. Ct. 2425, 2429, 96 L. Ed. 2d 318 (1987) (alteration
added). l

8. Plaintiff’s Amcnded Complaint purports to assert a claim for violation of
the Telephone Consurner Protection Act (TCPA), 47 U.S.C. § 227 et seq. (See Amended
Cornplaint, Count ll.)

9. "l`he United States Suprcme Court has held that TCPA claims give rise to
federal question jurisdiction See Mz'ms v. Arrow Financial Services, LLC, ~-- U.S. ---,
132 S.Ct. 74(), 745, 181 L.E.2d 881 (2012); see also Balthazar v. Centml Credit Services,
Inc., 475 Fed. Appx. 716 (11th Cir. 2012).

10. Because Plaintiff asserts a claim arising under, and for alleged violations
of, federal law, this Court has federal question jurisdiction over these claims pursuant to

28 U.s.c. §§ 1331 ana144i(b).

 

Case 8:17-cV-OO496-SCB-AAS Document 1 Filed 02/28/17 Page 4 of 7 Page|D 4

B. Supplemental Jurisdiction Exists Over Plaintiff’s Remaining Clai_ms.

11. This Court should exercise supplemental jurisdiction over Plaintiff’S
FCCPA claims under Section 559.72 of the Florida Statutes because these claims form
part of the same case or controversy as Plaintiff‘s TCPA claim. (See generally Arnended
Complaint, Count l).

12. The supplemental jurisdiction statute, 28 U.S.C. § 1367(a), provides in
pertinent part as follows:

[I]n any civil action of Which the district courts have original jurisdiction,

the district courts shall have supplemental jurisdiction over all other claims

that are so related to claims in the action Within such original jurisdiction
that they form part of the same case or controversy . . . .

28 U.S.C. § 1367(a).

13. Plaintiff’s FCCPA claims are related to the same alleged activity that forms
the basis for Plaintiff’s 'I`CPA claims, i.e., alleged telephone calls made in connection
With the collection of Plaintiff’s account (Amended Complaint, 1111 8-13; 20, 22). See also
28 U.S.C. § 1367.

14. Capital One expressly consents to this Court's jurisdiction over Plaintift’s
FCCPA claims.

15. Accordingly, this claim is related to Plaintiff‘s federal question claim, and
thereby form a part of the same case and controversy pursuant to 28 U.S.C. § 1367(a).

IH. PROCEDURAL REQUIREMENTS

16. No prior application has been made for the relief requested herein.

 

Case 8:17-cV-OO496-SCB-AAS Document 1 Filed 02/28/17 Page 5 of 7 Page|D 5

17. The United States District Court for Middle District of Florida, Tampa
Division, embraces the place where this action was pending in State Court.

18. Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Rernoval is being
served upon counsel for Plaintiff, and a copy of this Notice of Removal, along with a
Notice of Filing Notice of Rernoval, will be filed with the Clerl< of the Circuit Court for
the Circuit Court for Hillsborough County, Florida.

19. All prerequisites-for removal, as set forth in 28 U.S.C. § 1441, have been
met.

20. Pursuant to Local Rule 4.02(b), true and correct copies all process,
pleadings, orders, and other papers or exhibits of every kind, including depositions on file
in the state court are attached hereto as Exhibit A.

21. True and correct copies of all process, pleadings and orders served on
Capital One are attached as Exhibit B. See 28 U.S.C. § 1446(a).

22. Nothing in this Notice of Rernoval shall be interpreted as substantially
invoking the litigation process or as a waiver or relinquishment of Capital One's right to
assert any defense or affirmative matter, including, but not limited to, the defenses of: (1)
lack of jurisdiction over the person; (2) insufficiency of process; (3) insufficiency of
service of process; (4) improper joinder of claims and/or parties; (5) failure to state a
claim; (6) the mandatory arbitrability of some or all of the claims; (7) failure to join
indispensable parties; or (8) any other pertinent defense available under Fla. R. Civ. P.

1.110 and 1.l4() or Fed. R. Civ. P. 8 and 12, any state or federal statute,_or otherwise

 

Case 8:17-cV-OO496-SCB-AAS Document 1 Filed 02/28/17 Page 6 of 7 Page|D 6

23. To the extent remand is sought by Plaintiff or otherwise visited by this
Court, Capital One requests the opportunity to brief the issues and submit additional
arguments and evidence, to be heard at oral argument

WHEREFORE, Capital One prays that this Court take jurisdiction of this action
and issue all necessary orders and process to remove this action from the Circuit Court
for Hillsborough County, Floricla, to the United States District Court for the Middle

District of Florida, Tarnpa Division.

Dated: February 28, 2017

Respectfully $§bmitted,

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Case 8:17-cV-OO496-SCB-AAS Document 1 Filed 02/28/17 Page 7 of 7 Page|D 7

CERTIFICATE OF SERVICE

1 hereby certify that on this the 28th of February, 2017, a copy of the foregoing
was filed. Notice of this filing will be sent to the following party/parties through the
Court’s Electronic Case Filing Systern. Acopy has also been sent to counsel by U.S.
Mail, postage prepaid.

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